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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                ABERDEEN DIVISION

SAMANTHA CONNER                                                               PLAINTIFF

v.                                               CIVIL ACTION NO. 3:20-CV-57-MPM-RP

ALLTIN, LLC.; JAMES E. BROOKS;
KEVIN CASTEEL; WILLIE A. “SONNY”
SANDERS, in his official capacity as the
duly elected constable of Lowndes County,
and WILLIE A. “SONNY” SANDERS, in
his individual capacity                                                       DEFENDANTS

                      MOTION FOR JUDGMENT ON THE PLEADINGS

       COMES NOW Defendant, WILLIE A. ‘SONNY” SANDERS, in his official and

individual capacities, and moves for dismissal of Plaintiff’s Federal Law Claims.

       1.        Plaintiff filed her Second Amended Complaint on June 17, 2020. [Doc. 51].

       2.        In it, she alleges violations of federal law against the Defendant, WILLIE A.

‘SONNY” SANDERS, in his official and individual capacities.

       3.        Plaintiff’s Second Amended Complaint fails to allege relief against the Defendant

which is plausible on its face.

       4.        Moreover, Defendant is entitled to qualified immunity on all Plaintiff’s claims.

As such, Defendant moves this Court to dismiss the federal law claims in Plaintiff’s Second

Amended Complaint.

       5.      In support of dismissal, an appropriate memorandum of supporting authorities is

being filed.




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       WHEREFORE, Defendant WILLIE A. ‘SONNY” SANDERS prays that the Court

dismiss the federal law claims in Plaintiff’s Second Amended Complaint pursuant to Fed. R.

Civ. Proc. 12(c).

       RESPECTFULLY SUBMITTED this the 2nd day of October, 2020.

                                                JACKS |GRIFFITH |LUCIANO, P.A.

                                         By:     /s/ Bethany A. Tarpley
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                                                 Bethany A. Tarpley, MS Bar No. 104134
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                               CERTIFICATE OF SERVICE

       I, Bethany A. Tarpley, attorney of record for Defendant Sanders, do hereby certify that I
have this day caused a true and correct copy of the above and foregoing Motion to Dismiss
Federal Claims to be delivered by the ECF Filing System which gave notice to the following:

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       DATED this 2nd day of October, 2020.

                                                   /s/ Bethany A. Tarpley
                                                   Bethany A. Tarpley




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